        Case 1:22-mj-00101-RMM Document 1-1 Filed 05/10/22 Page 1 of 10




                                   STATEMENT OF FACTS

        Your affiant, Bela Schuler, is a Special Agent assigned to the Federal Bureau of
Investigation. In my duties as a special agent, I am assigned to a Counterterrorism squad, focused
on investigating criminal activities associated with Homegrown Violent Extremists. I have
completed training and gained experience in interviewing and interrogation techniques, arrest
procedures, search warrant applications, the execution of searches and seizures, and various other
criminal laws and procedures. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by
a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
        Case 1:22-mj-00101-RMM Document 1-1 Filed 05/10/22 Page 2 of 10




        During national news coverage of the January 6, 2021 events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        On or about January 14, 2021, Department of the Air Force, Office of Special
Investigations (“OSI”), submitted an Investigative Analysis Report to the FBI, reporting that
Jamie Lynn Ferguson (“FERGUSON”), a member of the West Virginia National Guard, was
suspected of having unlawfully entered the U.S. Capitol on January 6, 2021. In the report, OSI
provided a photograph of FERGUSON (Figure 1 below), biographical information, a social media
work-up, and screenshots of a video purporting to show FERGUSON inside the Capitol Rotunda
on January 6, 2021. OSI reviewed FERGUSON’s leave requests, and confirmed she was on leave
from January 5 to January 7, 2021, and listed her destination as Washington, D.C.




                          Figure 1 – Photograph of FERGUSON provided by OSI


        Video footage obtained from the U.S. Capitol Police, shows a white female with long dark
hair, wearing a dark-blue hooded sweatshirt with the phrase “Trump Girl” in white block lettering,
and carrying an olive green backpack (the “Subject Female”), entering through the east front
Rotunda doors to the U.S. Capitol at approximately 2:42 p.m. Below, depicted in Figure 2, are
screen captures taken from the aforementioned video footage (the Subject Female is indicated in
the yellow circle).




                                Figure 2 – USC CCTV at approximately 2:42 p.m.
       Case 1:22-mj-00101-RMM Document 1-1 Filed 05/10/22 Page 3 of 10




       The U.S. Capitol Police video footage shows the Subject Female proceeding directly
toward the Rotunda. The Subject Female is observed almost continuously inside the Rotunda from
approximately 2:42 p.m. until approximately 3:18 p.m. when she moves back into the entryway
between the Rotunda and the east front Rotunda doors. The Subject Female is observed in this
area continuously until she exits at approximately 3:33 p.m.

      Below are screen captures taken from the aforementioned video footage (the Subject
Female is indicated in the yellow circle).




                              Figure 3 – USC CCTV at approximately 2:43 p.m.




                              Figure 4 – USC CCTV at approximately 2:49 p.m.
Case 1:22-mj-00101-RMM Document 1-1 Filed 05/10/22 Page 4 of 10




                     Figure 5 – USC CCTV at approximately 2:51 p.m.




                 Figure 6 – USC CCTV at approximately 3:18 p.m.




       Figure 7 – USC CCTV at approximately 3:18 p.m. (close-up of Figure 6)
         Case 1:22-mj-00101-RMM Document 1-1 Filed 05/10/22 Page 5 of 10




       Based on information provided by OSI, I reviewed video posted to Twitter by the Agence
French-Presse (AFP) News Agency.1 The video appears to show the Subject Female inside the
Capitol Rotunda with a blonde female wearing a red scarf, also seen above in Figures 3-5.
       Below are screens captures from the AFP video (the Subject Female is circled in yellow).




                                  Figure 8 – AFP News Agency screen captures

        In the Investigative Analysis Report, OSI identified multiple email and social media
accounts attributed to FERGUSON, which included a Facebook account with display name “Jamie
Lynn” and unique identifier “afgurl77” (“Subject Facebook account”).2 Special Agents assigned
to the FBI Pittsburgh, Charleston, West Virgina Resident Agency (“FBI Charleston”) accessed the
Subject Facebook account, found that it was partially open, and reviewed timeline posts, photos,
videos, and personal information, which provided further support that the account can be attributed
to FERGUSON. Profile photos from the Subject Facebook account, Figure 9 below, also appear
to depict FERGUSON.




1
  https://twitter.com/AFP/status/1347032665011097601
2
  The link to the Subject Facebook account is https://www.facebook.com/afgurl77/. Note: “AF” is a known
abbreviation for the United States Air Force, and FERGUSON is born in 1977. Based on training and experience, it
is common for Facebook users to select distinguishing abbreviations and numbers for their unique identifiers.
       Case 1:22-mj-00101-RMM Document 1-1 Filed 05/10/22 Page 6 of 10




                         Figure 9 – Profile photos from Subject Facebook account

During their review of the Subject Facebook account, Agents identified the following relevant
posts:

   •   January 11, 2021: Jamie Lynn posted a screenshot with the caption “Add on clouthub” with
       username @JamieLynn. The bio for the account read “Love this country and love our
       POTUS!!!”
   •   January 5, 2021: Jamie Lynn shared a post that was either private or deleted; a comment
       on the post stated “Be careful in DC.”
   •   January 3, 2021: Jamie Lynn shared an article with a picture of a crowd in front of the U.S.
       Capitol building with a storm cloud and Mt Rushmore above the building that read “Jan 6,
       2021 – A Storm of Patriots will fight for the Republic, this will be an historic day….” Jamie
       Lynn captioned this post stating, “I pray this is exactly what DC will look like on Jan 6th.
       #HoldTheLine.” One of the comments on the post asked “Are you going?” and Jamie Lynn
       replied, “I Am.” Another individual commented, “I will be there” and Jamie Lynn replied,
       “me too!”
    Case 1:22-mj-00101-RMM Document 1-1 Filed 05/10/22 Page 7 of 10




•   January 3, 2021: Jamie Lynn tagged individuals in a post of a screenshot that read, “Trump
    wants to see you in DC” with three DC locations, dates, and times listed.
       Case 1:22-mj-00101-RMM Document 1-1 Filed 05/10/22 Page 8 of 10




       On January 14, 2021, Sepcial Agents assigned to FBI Charleston conducted an interview
of FERGUSON at her residence. During the interview, FERGUSON provided Agents cell phone
photos and videos taken or recorded between January 5 and January 7, 2021. In one of the photos
        Case 1:22-mj-00101-RMM Document 1-1 Filed 05/10/22 Page 9 of 10




provided by FERGUSON (Figure 9 below - FERGUSON is circled in yellow), her physical
appearance and clothing appears to match the Subject Female depicted in Figures 1-8.




                               Figure 9 – Photo provided by FERGUSON


         During the interview, FERGUSON stated that on January 6, 2021, she attended the Trump
rally at the the White House with her mother and father from approximately 9:00 a.m. to 9:30 a.m.
She stated that she was wearing blue jeans and a dark-colored hooded sweatshirt with the phrase
“Trump Girl” on it. After the rally concluded, FERGUSON’s father and mother left, while she
proceeded to the U.S. Capitol, believing that she would be able to see the President again. She
stated that she entered the U.S. Capitol and stayed in the Rotunda area for approximately 40
minutes.

         Based on the foregoing, your affiant submits that there is probable cause to believe that
Jamie Ferguson violated 18 U.S.C. § 1752(a)(1) and (2) which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that Jamie Ferguson violated
40 U.S.C. § 5104(e)(2)(D) which makes it a crime to engage in disorderly or disruptive conduct,
at any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt,
       Case 1:22-mj-00101-RMM Document 1-1 Filed 05/10/22 Page 10 of 10




or disturb the orderly conduct of a session of Congress or either House of Congress and (G) to
willfully and knowingly parade, demonstrate, or picket in any of the Capitol Buildings.


                                                    ___________________________
                                                    Special Agent Bela Schuler
                                                    Federal Bureau of Investigaiton

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
                    10th day of May 2022.
by telephone, this _____


                                             ___________________________________
                                             HONORABLE ROBIN M. MERRIWEATHER
                                             UNITED STATES MAGISTRATE JUDGE
